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Case 2:05-cv-04182-SRD-JCW Document 1447 Filed 1 pI23/0Gy Page reer rqupy
EASTERN DISTRICT GF LOUISIANA

AO 440 (Rev. 16/93) Summons ia a Civil Action Fi LED OCT 2 3 2006 hy

United States District; Corsi, wave

EASTERN DISTRICT OF LOUISIANA

MAUREEN O’DWYER, ET AL. 26>, LU,

SUMMONS IN A CIVIL CASE \
Vv. CASE NUMBER:

DEPARTMENT OF TRANSPORTATION
AND DEVELOPMENT, ET AL. 06-4389 “S2-43}-

Ka

TO: MODJESKI AND MASTERS, INC.

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name

and address)

Ashton R. O’Dwyer, Jr.
One Canal Place

365 Canal Street

Suite 2670

New Orleans, LA 70130

An answer to the Complaint and First Supplemental and Amending Compiaint in a Class Action
Lawsuit, which is herewith served upon you, within twenty (20) days _ after service of this summons upon
you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.

RETTA G. WHYTE
LG lo

CLERK - . . DATE

(BY) DEPUTY CLERK

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— Process nme
WK Oktd
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__. Flos. No

Case 2:05-cv-04182-SRD-JCW . Document 1447 Filed 10/23/06 Page 2 of 2

Sarre
{40 (Rev, 10/93) Suri. .ns in a Civil Action
RETURN OF SERVICE
DATE ()
Service of the Summons and Complaint was made by me! I Ob
NAME OF SERVER pawn f Ww [ O' Quer TITLE Di fp > 3

Check one box below to indicate appropriate method of service oo
a gr

[J Served personally upon the defendant. Place where served:

[] Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.
Name of person with whom the summons and complaint were left:

Cj Returned unexecuted:

7 Test and Masters, Inc, / NINE EFIER I
rough its agent for s Fre 4 a —
CT other (specify): _ William RB. Conway Srvice of process: \A OD x LA
1055 St. Charles Avenue Lop
New Orleans, LA 70130 v —
STATEMENT OF seRviceFeES = /V\J?__ -
TRAVEL SERVICES TOTAL Gg
DECLARATION OF SERVER -

' declare under penalty of perjury under the laws of the United S
contained in the Return of Service fia | Statement of Service Fees i

wn, M1019 [OG

Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure,

